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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS


 BITMANAGEMENT SOFTWARE GMBH,

                        Plaintiff,                 Case No. 16-840 C
                 v.
                                                   Senior Judge Edward J. Damich
 THE UNITED STATES OF AMERICA,

                        Defendant.



      JOINT SUPPLEMENTAL STATUS REPORT AND MOTION TO SCHEDULE
          EXPERT DISCOVERY AND SUMMARY JUDGMENT BRIEFING

1.      Plaintiff Bitmanagement Software GmbH (“Bitmanagement”) and Defendant the United

States of America (the “Government”), respectfully submit this joint proposal and motion

requesting that the Court approve the Parties’ proposed schedule for expert discovery and for the

filing of summary judgment motions set forth below.

2.      The Court entered the current scheduling order on November 13, 2017 (Dkt. No. 20)

following the Parties’ earlier joint motion for an extension of fact discovery on November 11,

2017. The Court ordered that the Parties meet and confer within 21 days of the close of fact

discovery to discuss “an appropriate sequence and schedule for expert discovery,” to “file a

supplemental status report detailing the schedule for expert discovery” within 7 days of

conferring, and that “[t]he deadline to complete expert discovery and date by which to [make]

expert witnesses available for depositions shall be 91 days later, unless an earlier date is agreed

to by the parties.”

3.      The Parties completed fact discovery on December 22, 2017.
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4.       On January 10, 2018, counsel for Bitmanagement and counsel for the Government met

and agreed to the following schedule for expert discovery, subject to the Court’s approval:

 Event                             Proposed Deadline

 Plaintiff’s expert disclosures    February 16, 2018
 and reports

 Defendant’s expert                March 23, 2018
 disclosures and reports

 Plaintiff’s rebuttal expert       April 20, 2018
 disclosures and reports

 Close of expert discovery         May 18, 2018
 including depositions

5.       The current scheduling order also provides that motions for summary judgment be filed

60 days after the close of fact discovery. In light of the contemplated schedule for expert

discovery, the Parties propose to extend this date and set forth a full schedule for summary

judgment briefing as follows:

 Event                             Proposed Deadline

 Motions for Summary               March 2, 2018
 Judgment

 Responses to Summary              April 13, 2018
 Judgment Motions

 Reply Briefs in Support of        May 4, 2018
 Summary Judgment

6.       The Parties believe the proposed schedule will provide the Parties sufficient time to

complete expert discovery and any summary judgment briefing. Accordingly, the Parties

respectfully request that the Court enter an order setting forth the Parties’ proposed schedule.

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Dated: January 18, 2018         Respectfully Submitted,

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                        Respectfully submitted,

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